                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                    KNOXVILLE DIVISION


  LEWIS COSBY and KENNETH R. MARTIN,
  as beneficiary of the Kenneth Ray Martin Roth
  IRA, and MARTIN WEAKLEY on behalf of
  themselves and all others similarly situated,

                Plaintiffs,                       Case No. 3:16-cv-00121-TAV-CCS

  v.

  KPMG, LLP,

                Defendant.


               PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
                           KPMG’S MOTION TO DISMISS


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         Plaintiffs1 respectfully submit this memorandum opposing KPMG LLP’s (“KPMG”)

  Rule 12(b)(6) motion to dismiss Plaintiffs’ Second Amended Class Action Complaint (“SAC”).

                                 PRELIMINARY STATEMENT

         KPMG perpetuated a massive fraud on Miller Energy Resources, Inc.’s (“Miller” or the

  “Company”) investors. During the Class Period, KPMG knowingly and repeatedly ignored

  glaring signs of fraud, utterly failed to meet its obligations as an independent auditor, and, for

  nearly four years, conducted essentially “no audit at all” of Miller’s financial statements,

  resulting in a more than $400 million overvaluation of Miller’s oil and gas properties in Alaska

  (“Alaska Assets” or “Assets”), and causing hundreds of millions of dollars in investor losses. In

  August 2017, the SEC confirmed what Plaintiffs allege: that KPMG’s audits of Miller were so

  deficient that they violated the federal securities laws and numerous professional and ethical

  standards. Notably, the SEC’s investigation revealed that KPMG ignored repeated warnings by

  its own valuation experts that its valuation figures for the Alaska Assets were “so high, they

  make no sense,” and that the assumptions supplied by Miller were unreliable.

         The severity of KPMG’s misconduct is reflected in the harshness of the penalties

  imposed by the SEC, which include not only the disgorgement of everything KPMG earned from

  working for Miller, totaling more than $5 million including interest, but also $1 million in

  additional penalties against KPMG, $25,000 against the KPMG partner who led the audits, the

  banning of that partner from appearing before the SEC, and a significant reform program that

  requires KPMG’s senior most executives to regularly report to the SEC on its efforts to prevent a

  similar debacle from occurring again. See In the Matter of KPMG LLP and John Riordan, CPA,


  1
   Plaintiffs are Lewis Cosby, Kenneth R. Martin (as beneficiary of the Kenneth Ray Martin Roth
  IRA), and Martin Weakley.




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  SEC Admin. Proceeding No. 3-18110 (August 15, 2017) (“KPMG Order”) (Dkt. 67-1).

         KPMG now moves to dismiss, hoping this Court will ignore the SEC’s factual findings,

  which KPMG barely mentions, and which demonstrate that KPMG deliberately turned a blind

  eye to glaring evidence of fraud, and thus engaged in knowing misconduct or at a minimum

  extreme recklessness. But, KPMG cannot wish these facts away by ignoring them. Instead, they

  are fatal to its motion. KPMG’s other arguments for dismissal of the Section 10(b) claims

  similarly rely on ignoring well-settled securities law, much of which KPMG does not cite. They

  should be rejected.

         KPMG also seeks dismissal of the Section 11 claims by, for example, challenging Mr.

  Weakley’s ability to assert them. However, Messrs. Cosby and Martin also assert those claims,

  and KPMG does not challenge, and thus concedes, their ability to do so. Similarly, KPMG

  argues that Section 11 claims cannot be asserted on behalf of preferred shareholders because of

  Gaynor, et al. v. Miller, et al., No. 3:16-cv-232-TAV-CCS (E.D. Tenn.) (“Gaynor”). But, it does

  not argue, and thus concedes, that Section 10(b) claims can. Thus, KPMG cannot prevent the

  Section 11 claims, or claims on behalf of preferred shareholders, from moving forward.

         KPMG’s motion should be denied, and this case should proceed to discovery.

                        FACTUAL AND PROCEDURAL BACKGROUND

         A.      Miller rose to prominence on the purported strength of the Alaska Assets.

         On the purported strength of a 2009 acquisition of the Alaska Assets for less than $3

  million in cash, Miller rose from a small Knoxville-based oil and gas company at the fringes of

  the industry, to a New York Stock Exchange (“NYSE”) company with a market capitalization

  that approached $400 million. Unfortunately for investors, and as numerous SEC investigations

  have now revealed, that vertiginous rise was fueled by fraud, and particularly fraud relating to

  the Alaska Assets’ “fair market value” or “fair value.”


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            The Alaska Assets consisted of mostly unproven exploratory below-ground oil and gas

  reserves and related above-ground infrastructure, and had been the subject of an extensive

  marketing effort by their previous owners. ¶ 44.2 By mid-2009, those efforts had failed, and the

  Alaska Assets were auctioned in a public bankruptcy proceeding. Id. The winning bid was $8.1

  million, with a backup bid of $7 million. Id. However, both bidders failed to close, id., so the

  owner obtained permission from the bankruptcy court to abandon the Alaska Assets, which the

  court described as being of “no value or other benefit.” ¶ 45. Shortly thereafter, Miller and Scott

  Boruff (“Boruff”), recently appointed as Miller’s CEO, expressed interest in the Alaska Assets.

  ¶ 46. The abandonment order was rescinded, and another auction was held in which Miller

  acquired the Alaska Assets with a bid of $2.25 million and the assumption of certain liabilities.

  Id. The transaction closed on December 10, 2009. Id.

            The following week, on December 16, 2009, Miller announced the acquisition to the

  investing public. ¶ 48. Incredibly, it asserted the Alaska Assets had a value of $325 million—

  more than 100 times what it had paid a mere week before. Id. Then, just three months later in its

  10-Q for 3Q2010,3 Miller claimed that the fair market value under Generally Accepted

  Accounting Principles (“GAAP”) for the Alaska Assets was $480 million, including an

  astounding $368 million worth of “Oil and Gas Properties,” $110 million worth of “Fixed

  Assets,” and $1.9 million in cash and inventory. ¶ 52.

            Unbeknownst to investors, however, these figures were massively inflated, and the

  Alaska Assets’ actual fair value was hundreds of millions of dollars lower. E.g., Miller Order,

  Dkt. 65-14, ¶ 56 (finding that “Miller Energy overvalued the Alaska assets by more than $400

  2
      Citations to “¶ __” are to paragraphs in the SAC.
  3
    10-Q refers to SEC Forms 10-Q. 3Q2010 refers to the third quarter of fiscal year 2010. Miller’s
  fiscal year ran from May 1 to April 30, and 3Q2010 was the quarter ending January 31, 2010.



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   million”). One reason was that the Company massively understated how much it would cost to

   actually extract oil from the Alaska Assets—a critical input in the standard “income approach”4

   to valuation it claimed to be using. ¶¶ 4, 7, 8, 51, 130, 209. Another reason was that the $368

   million and the $110 million figures reported as the fair value for the Alaska Assets in its

   3Q2010 10-Q—and the basis for all the reported valuations going forward—had nothing to do

   with fair market value. The $368 million figure was directly lifted from a “reserve report” issued

   by petroleum engineering firm Ralph E. Davis (“RE Davis”) which warned on its very first page

   that it was not an estimate of fair market value. ¶ 50.5

          The $110 million was overstated in at least two ways. First, although Miller claimed to

   have relied on a replacement-cost valuation report issued by a third-party insurance broker, the

   truth was that the broker’s figures were supplied by Miller and the Alaska Assets’ previous

   owners themselves, and were not the product of an independent analysis. Miller Order, Dkt. 65-

   14, ¶¶ 41-54. Second, the $110 million was already accounted for in the value reported for the

   4
     Under GAAP, and specifically under Accounting Standards Codification (“ASC”) 820, the
   three permissible approaches to measuring fair market value at the time were: (1) the market
   approach, which uses prices and other information generated by comparable market transactions;
   (2) the income approach, which converts future cash flows to a single discounted present value;
   and (3) the cost approach, which estimates what it would currently cost to replace the asset in
   question. Miller Order, Dkt. 65-14, ¶ 16.
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     The reserve reports were flawed for several other reasons as well, all unknown to investors. For
   instance, another engineering firm initially approached by Miller told the Company that, based
   on its experience with the Alaska Assets and the Redoubt Shoal, costs and expenses would
   exceed income, such that the present value would be less than zero. As a result, that firm refused
   to assign any value to the Redoubt Shoal, telling Miller it would not put its “name on a report
   that implies value exists where it likely does not.” Miller Order, Dkt. 65-14, ¶ 36. Only after
   Miller was refused by this firm did it obtain the RE Davis reserve report. Id., ¶ 37. KPMG could
   have discovered this, but simply failed to investigate. The reserve reports also improperly: relied
   on fraudulently understated costs and expenses, id., ¶ 25-26; failed to consider costs associated
   with legal obligations for retiring oil and gas assets, id., ¶ 27; failed to consider the effect of
   income taxes on cash flow, id., ¶ 28; used a 10% discount rate that badly underestimated the true
   risks associated with Assets, id., ¶ 29; and failed to apply proper risk weights to probable and
   possible reserves, which are inherently riskier that proved reserves. Id., ¶ 30.



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   oil reserves. Thus, to separately report the value of the fixed infrastructure was to double count

   and inflate their value—by $110 million. ¶¶ 8, 52, 132, 133.

          Following its announcement of the Alaska Assets’ valuation, Miller’s stock price more

   than doubled from a pre-acquisition price of a mere $0.61 per share, ¶ 57, to $1.35 per share.

   ¶ 71 n.10. By the end of the following March, after the Company filed its 3Q2010 10-Q, its stock

   price had skyrocketed to $6.60 per share, a 982% increase from the pre-acquisition price. ¶ 57.

          B.      KPMG is retained to lend credibility and to attract institutional investors,
                  but immediately engages in misconduct that deepens the fraud, and breaches
                  a litany of professional standards by turning a blind eye to clear evidence of
                  the overvaluation of the Alaska Assets—including warnings issued by its own
                  internal valuation specialists.

          As Miller rose in prominence, it realized that it needed more accounting credibility. At

   the time of the Alaska acquisition, its accounting department, which consisted of its then-CFO

   Paul Boyd (“Boyd”) and two part-time clerical staff, was, as Boyd has since admitted, “the blind

   leading the blind.” ¶ 47. Indeed, Boyd was previously the CFO of a failed local company, lacked

   auditing experience, and had never worked in the energy industry before. ¶ 84. CEO Boruff too

   lacked both oil and gas and public-company reporting experience. Id. Miller’s then-auditor,

   Sherb & Co. LLP (“Sherb”), was a small firm lacking credibility and significant oil and gas

   experience, would eventually be suspended by the SEC in 2013, and is now defunct. ¶ 27. Thus,

   as Boyd explained, after “some of the [Company’s] large investors … said … a Big 4 firm would

   be nice,” ¶ 159, Boyd interviewed three of the Big Four firms, and eventually recommended

   KPMG to the Company’s Audit Committee. ¶¶ 62, 159. According to Boyd, KPMG told him

   “they were experts in the field of valuing oil and gas assets.” Id. On February 1, 2011, KPMG

   replaced Sherb as Miller’s independent auditor.

          From the beginning, however, instead of improving Miller’s financial reporting, KPMG’s

   involvement made things worse. Indeed, as the SEC would later conclude, KPMG’s failures


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   began even before it retained Miller as a client. Specifically, the SEC found that in deciding to

   accept the engagement, KPMG “failed to properly assess the risks associated with accepting

   Miller as a client and to properly staff the audit,” in violation of Generally Accepted Auditing

   Standards (“GAAS”), as set out by the Public Company Accounting Oversight Board

   (“PCAOB”). ¶ 7. These risks included the highly unusual nature of the Alaska acquisition, the

   Company’s recent history as a penny-stock company, its lack of experienced executives and

   qualified accounting staff, material internal control weakness, a long history of financial losses,

   and the Company’s pressing need to obtain financing to operate the newly acquired Alaska

   Assets, all of which KPMG knew about. ¶¶ 83-84.

          KPMG’s early failures also included appointing John Riordan (“Riordan”), the head of

   KPMG’s Knoxville office, as lead engagement partner, even though he “lacked the necessary

   experience to serve as the partner-in-charge of the engagement,” ¶ 103, and selecting an audit

   team that “had insufficient expertise to appropriately address the risks presented by Miller

   Energy.” Id.

          KPMG also completely failed to properly plan its Miller audits. For example, in violation

   of GAAS, as well its own internal policies, KPMG and the core engagement team—the audit

   personnel who worked directly with Miller—failed to define the scope and extent of its

   “Economic and Valuation Services” (“EVS”) unit’s work, resulting in no meaningful process for

   verifying the valuation-determinative assumptions underlying the Alaska Assets’ reported value,

   or for assessing the accounting treatment of the fixed infrastructure. ¶¶ 105, 123. KPMG’s audit

   strategy further violated GAAS because it failed to properly take into consideration or tailor its

   audit strategy to account for a litany of significant risks KPMG knew about both before and after

   being retained, including Miller’s admittedly ineffective internal controls over financial reporting




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   throughout the Class Period, need to restate its 1Q and 2Q2011 10-Qs due to errors (as discussed

   below), need to late-file its 3Q2011 10-Q, and failure to ever form an Internal Audit Group, in

   violation of NYSE rules with which it was required to comply. ¶ 87.

          KPMG also breached its duties to be both skeptical of and independent from Miller’s

   management—fundamental auditing principles. ¶¶ 78, 153. As a public auditor, KPMG served a

   “public watchdog function” that demanded “total independence from [Miller] at all times and

   require[d] complete fidelity to the public trust.” U.S. v. Arthur Young & Co., 465 U.S. 805, 818

   (1984). KPMG, however, was both overly credulous and totally lacking in independence. Indeed,

   before KPMG even completed its first Miller audit, instead of applying scrutiny to the valuation,

   KPMG helped Miller defend it—and to the SEC no less. ¶¶ 67, 146, 161. Given that KPMG had

   not yet even completed its first Miller audit, its defense of that valuation in the face of SEC

   inquiries badly compromised its independence and its ability to objectively scrutinize the Alaska

   Assets, in violation of GAAS.6

          As for KPMG’s actual review of the Alaska Assets’ valuation, as the SEC would later

   confirm, it was characterized by “repeated instances of unreasonable conduct,” and amounted to

   “highly unreasonable conduct resulting in violations of PCAOB standards in circumstances in

   which heightened scrutiny was warranted.” KPMG Order, Dkt. 67-1, ¶ 96. For example, KPMG

   relied on the RE Davis report in valuing the Alaska Assets despite knowing that it did not

   include reserve adjustment factors for the riskier categories of oil reserves. ¶ 143. Thus, as the

   SEC later confirmed, KPMG “knew that using the assumptions in the reserve report for fair

   6
     Notably, the SEC had specifically highlighted the risks and expenses associated with the
   Redoubt Shoal [Alaska Assets], noting that its “prior experience with the Redoubt Shoal
   indicates that it is a high operating cost area,” and requested that Miller provide the “figures for
   and sources of the components of your projected production costs here.” Dkt. 65-4 (SEC letter
   dated June 7, 2011).



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   value purposes was inappropriate.” ¶ 114. See also id., ¶ 124. Similarly, KPMG also improperly

   relied on the insurance broker report for fair value purposes, despite knowing that the insurance

   broker was not a valuation expert. ¶¶ 114, 116, 134.

          At this juncture, it should have been clear to KPMG that, contrary to Miller’s

   representations to the investing public, it had never performed a proper fair market value analysis

   of the Alaska Assets. Yet, instead of requiring the Company to conduct a proper analysis in the

   first instance—as KPMG should have—KPMG instead conducted its own analysis of the Alaska

   Assets’ worth, producing “their [own] internal report,” ¶ 124, conveniently yielding a number “in

   the ballpark” as what Miller had reported. Id. This was confirmed by the SEC, which revealed

   that EVS had generated a range of possible valuations that “appeared to support” Miller’s $480

   million figure. ¶ 143. The problem with EVS’s work, however, was that—as with KPMG’s

   defense of the Alaska Assets’ valuation to the SEC—it badly undermined KPMG’s

   independence. Indeed, as the SEC explained: “[P]erforming certain valuation services for the

   audit client is inconsistent with independence. An auditor who has appraised an important client

   asset at mid-year is less likely to question his or her own work at year-end.” ¶ 165.

          Moreover, EVS’s valuation of the Alaska Assets was itself deeply flawed. According to

   an internal KPMG memorandum, KPMG admitted that a true fair value analysis required

   consideration of twelve inputs, including, among other things, the production forecast, future oil

   and gas prices, lease operating expenses (“LOE”), selling, general and administrative (“SG&A”)

   expenses, taxes, capital expenditures, the discount rate, and risk weightings. ¶ 123. Yet, in

   calculating its valuation, KPMG, through EVS, simply took at face value nine of Miller’s inputs,

   choosing to independently analyze only three inputs: (1) the discount rate; (2) future oil prices;

   and (3) risk weightings. Id. Remarkably, it found that Miller’s assumptions for all three were




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   inappropriate. Id.7 Yet, despite this clear red flag, KPMG did nothing to ensure that the other

   critical assumptions supplied by Miller, including critical cost assumptions, were accurate. Id.

          KPMG’s failure to scrutinize the cost assumptions was particularly inexcusable given

   that EVS itself warned Riordan and KPMG that those assumptions were dubious. ¶¶ 127-28.

   Indeed, as the SEC revealed, EVS explicitly told Riordan and the core engagement team on

   March 9, 2011 that portions of its own estimate were anomalously high, likely because of

   erroneous cost assumptions supplied by Miller. ¶ 127. Thus, EVS asked the core engagement

   team to review those assumptions. Id. EVS reiterated its concerns the next day, saying that the

   Company’s assumptions were resulting in valuations for “[t]he PUDs [proved undeveloped],

   probable and possible” reserves that were “so high, it does not make sense.” Id. And, on several

   occasions, EVS warned that it was relying on Riordan and others on the core engagement team

   to assess the reasonableness of Miller’s cost assumptions, on which EVS’s range was based. Id.

          Despite these warnings—from its own internal valuation specialists no less—KPMG

   failed to take even the most basic steps to evaluate these critical cost assumptions. For example,

   the SEC found that Miller had in its possession historical expense data from the Alaska Assets’

   former owner that showed the cost assumptions Miller supplied to RE Davis, and on which

   EVS’s valuation was based, was substantially lower than the historical data. ¶ 128. Yet, in

   violation of GAAS, KPMG never asked for, much less, analyzed that data. Instead, it simply

   accepted Miller’s understated assumptions, no questions asked.


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      EVS’s treatment of certain of these assumptions was itself indefensible. Just before the
   issuance of the 3Q2011 10-Q, EVS lowered the discount rate range to 12% to 15% from 14% to
   17%, without explanation or documentation. ¶ 126. Had it not been lowered, EVS’s analysis
   would have indicated that the $368 million number was overstated by as much as 15%. Id.
   Instead, EVS’s lowering of the discount rate conveniently resulted in a range that appeared to
   support the existing valuation. Id.



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          Similarly, the cost figures used by the Company for the fiscal 2011 supplemental oil and

   gas disclosures showed that capital expenditures for some of the exact same oil wells had

   increased by roughly $100 million compared to the previous year’s estimates—which estimates

   EVS relied on, and which underpinned the $480 million figure. ¶ 129. As the SEC explained,

   that increase mainly resulted from increased drill cost estimates for several wells (from $4.6

   million to over $12 million each). Id. Moreover, these higher figures were far more consistent

   both with historical data and Miller’s own internal cost estimates, than they were with the

   Company’s operative assumptions. Id. Yet, KPMG failed utterly to investigate the $100 million

   increase in capital expenditure assumptions, in direct violation of GAAS. Id.

          Other data available to KPMG also made clear that forecasted costs were significantly

   understated. For example, Miller’s 2011 10-K stated that in 2009 the Company informed the

   State of Alaska that it would cost $31 million to restart production in one of the Alaska Assets’

   two principal fields (an estimate it internally increased in 2011 to $45 million). ¶ 130. However,

   that $31 million cost estimate was nearly double the amount of restart costs ($16.8 million)

   supplied by the Company for valuation purposes. Id.

          Further, as the SEC revealed, KPMG had actual possession of a document contradicting

   the Company’s cost assumptions, namely a 2011 budget that contained management’s forecast

   for the next several years. ¶ 131. The figures in that budget were significantly higher than those

   used to value the Alaska Assets, and the production numbers significantly lower—as KPMG

   either knew and ignored or would have discovered had it simply compared the figures. Id. Yet,

   KPMG turned a blind eye to this fact as well.

          C.      KPMG failed to require that Miller resolve the double counting of the above-
                  ground infrastructure and made it more difficult to detect.

          KPMG’s complicity in the fraud went even deeper with respect to the purported $110



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   million worth of above-ground infrastructure. As the SEC found, KPMG knew the insurance

   broker who prepared the report from which this figure was lifted was not a valuation specialist.

   ¶¶ 114, 116. Yet, KPMG’s workpapers inexplicably refer to the broker as a “third party valuation

   specialist” who “performed the appraisal of the fixed assets.” ¶ 116. Worse, KPMG listed the

   insurance broker as a “specialist” whose work KPMG relied on as audit evidence, and wrote that

   “EVS concluded that the methodologies used and conclusions reached by [the insurance broker]

   were reasonable”—despite having no information other than Miller’s representations. Id. The

   report itself did not describe a methodology, and KPMG never contacted the broker as it should

   have under GAAS. Id. Had they done so, they would have learned there was no methodology—

   the broker simply used numbers given to it.

          In all events, upon discovering the report, KPMG told Miller to create a second estimate.

   ¶ 135. But Miller’s revised estimate was no more reliable, as Miller simply did another

   “replacement cost” analysis internally, without using any experts. Id. KPMG accepted this new

   analysis as reasonable despite that, and despite other dubious claims, like the inclusion of 175%

   more miles of pipelines than had been included in the original report. Id.

          Miller’s figures were also unreasonable because, as the SEC found, the infrastructure was

   in a remote location, such that a willing buyer and seller would not have agreed on replacement

   cost as the price for these assets. ¶ 136. This was particularly true of the underground pipelines

   that connected various oil production facilities, which KPMG—after deeming them unnecessary

   for generating income, to avoid the appearance of double counting—purported to assign a

   replacement cost of up to $46 million. Id. This was almost half the supposed value of the

   infrastructure previously reported in the “Fixed Assets” category. Id. However, as the SEC

   found, it was highly unlikely that any market participant would pay $46 million for pipelines that




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   were assumed to be extraneous to the production of oil and gas from nearby fields. Id.

           A deeper problem with these tactics was that they did not resolve the double-counting

   problem, despite KPMG being aware of that problem. The proper solution was to require Miller

   to restate its valuation by writing off the incorrectly reported $110 million from its balance sheet.

   However, because Riordan had already assured Miller’s Audit Committee that no such

   restatement would be necessary—before KPMG had learned of the insurance broker report—

   KPMG instead improperly worked with Miller to “reclassify” the value of the above-ground

   infrastructure into the “Oil and Gas Properties” category, including by engaging in the

   accounting procedures described above. Dkt. 35, Amended Class Action Complaint (“FAC”),

   ¶¶ 66, 75.8 The net effect of these maneuvers was to enable Miller to falsely claim that the $110

   million error that had been on its books and reported in numerous SEC filings was “immaterial,”

   given the purported lack of a net impact on its balance sheet. See 2011 10-K, Dkt. 65-10 at F-27

   (describing errors as “immaterial”).9 The reality, of course, was that even if the below-ground oil


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     Specifically, in its annual report for the fiscal year ending April 30, 2011, Miller, at KPMG’s
   direction, reduced the $110 million value reported in the “Fixed Assets” category in previous
   filings by $107 million, FAC, ¶ 75, and increased the value reported in the “Oil and Gas
   Properties” category for the same period by virtually the same amount. Id. There was, however,
   no economic justification for that increase. In prior filings, the purported fair value of the oil
   reserves was approximately $368 million, using the “income approach,” which incorporated cash
   flows generated by the double-counted above-ground infrastructure. Under the income approach,
   a nearly $110 million increase in the fair value of oil reserves implied a change in the underlying
   economics, such that those same assets were now expected to generate an additional $110
   million in cash flow. But no such change occurred—Miller had not discovered more oil or gas on
   its properties, had not dramatically reduced its costs, or done anything else to justify claiming
   that it would be able to generate an additional $110 million in cash flow. Instead, the only reason
   for the increase was to hide the enormous $110 million error recorded in prior financial
   statements, and to avoid having $110 million vanish from the Company’s balance sheet.
   The addition of nearly $110 million to the oil and gas reserves represented an approximately
   29% increase in the purported value of those reserves—one of, if not the most important metric
   for oil and gas investors—with that increase being a complete fiction.
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       Worse, according to Boyd, instead of requiring that Miller’s management or accounting



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   reserves had been properly valued—and they had not been for numerous reasons described

   above—any value that had previously been assigned to the above-ground infrastructure was a

   fiction, and should have been written off.

          D.      KPMG ignored other glaring red flags of fraud.

          KPMG was warned in other ways that the Alaska Assets were overvalued. For example,

   on July 28, 2011, a lengthy article was published in The Street Sweeper, a financial blog

   dedicated to “exposing corporate fraud,” that challenged the Alaska Assets’ valuation, citing

   numerous pieces of evidence, claiming they were likely only worth between $35 to $40 million

   dollars, offset by $40 million in liabilities. ¶ 145. Riordan, the core engagement team, and a

   member of KPMG’s upper management became aware of the article the same day. Id.

          Then, in August 2011, Miller received a subpoena from the SEC seeking information

   about the Alaska Assets’ valuation. ¶ 146. Riordan discussed the formal investigation, as well as

   the allegations in The Street Sweeper article, with upper KPMG management, including KPMG’s

   Department of Professional Practice (“DPP”) and its general counsel. Id. Nevertheless, despite

   the clarion warnings of fraud set out in the article, and despite the SEC subpoena, KPMG

   concluded that no additionally scrutiny was warranted. Id.

           On August 16, 2011, In re Miller Energy Res. Sec. Litig., No. 3:11-CV-386-TAV-CCS


   department make the necessary adjustment, KPMG crafted and gave Miller the journal entry,
   leaving Miller and Boyd with only the clerical task of booking the adjustment. FAC, ¶¶ 58, 138.
   Indeed, Boyd himself admitted that he had “hired KPMG to do our books.” ¶ 159. Similarly, as
   Miller’s former Senior Vice President of Investor Relations Bobby Gaylor (“Gaylor”) explained,
   Miller’s books were in such disarray that KPMG had to “fix them … so they could audit them”
   in the first place. ¶ 162. This further violated GAAS and undermined KPMG’s independence,
   which was now acting as Miller’s bookkeeper. Indeed, as the SEC has explained, “[b]ookkeeping
   services … place the auditor in the position of later having to audit his or her own work and
   identify the auditor too closely with the enterprise under audit. It is asking too much of an auditor
   who keeps the financial books of an audit client to expect him or her to be able to audit those
   same records with an objective eye.” ¶ 165.



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   (E.D. Tenn.) (“In re Miller”) was filed, alleging that the Alaska Assets were fraudulently

   overvalued. ¶ 147. Yet, KPMG still did not subject the Alaska Assets to any additional scrutiny.

   Instead, on August 29, 2011, it issued a clean audit report, asserting that Miller’s “financial

   statements … present fairly, in all material respects, the financial position of Miller Energy.”

   2011 10-K, Dkt. 65-10 at F-2.

          On December 24, 2013, The Street Sweeper again criticized the valuation of the Alaska

   Assets, saying that “Miller [Energy] barely even resembles a normal energy firm since it focuses

   so much of its attention on raising capital that it seems to market its stock as its primary product

   while selling a little bit of oil on the side.” ¶ 200. The article noted that Miller’s production

   numbers were “tiny,” and that Miller was still “cash-flow negative,” and “has to keep selling this

   story about its monstrous reserves.” ¶ 201. The article also cited a hedge fund manager who

   pointed out that one way Miller might have been manipulating that value of those reserves was

   by manipulating “how much it will cost you to produce it.” ¶ 204. Nonetheless, KPMG again

   failed to reevaluate the Alaska Assets or further scrutinize the information provided by Miller.

          E.      KPMG failed to supervise Riordan and EVS in violation of GAAS.

          The foregoing conduct also violated the GAAS requirement that auditors properly

   supervise all personnel other than the auditor with final responsibility for the audit. ¶¶ 150-51.

   According to the SEC, KPMG failed to properly supervise EVS, such as by failing to properly

   evaluate EVS’s substitute assumptions for the discount rate. See supra at 9 n. 7. Further,

   according to the SEC, KPMG’s regional management office, DPP office, and general counsel all

   knew about the SEC’s investigation into Miller’s valuation of the Alaska Assets, as well as the

   article published by The Street Sweeper questioning that valuation, yet none of them asked the

   core engagement team to subject that valuation to additional scrutiny. ¶¶ 145-46, 151. And,

   according to the SEC, this failure to supervise extended to their decision to allow Riordan to lead


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   that team, despite knowing he lacked the necessary experience. ¶¶ 64, 151.

          F.      KPMG propped up Miller in the eyes of investors.

          Meanwhile, certain investors had challenged the Alaska Assets’ valuation, most notably

   in the In re Miller action. Indeed, in February 2014, this Court rejected Miller’s motion to

   dismiss that action, which proceeded to discovery. Not long after, however, the action settled in

   July 2014, for $2.95 million. Notably, one of the main reasons cited by counsel for investors for

   that settlement “was the fact [that] KPMG continued to support the accounting treatment”

   challenged by that action. In re Miller, Dkt. 82 at 12.

          Investors more generally also continued to be reassured by KPMG’s imprimatur. Indeed,

   as Gaylor explained, Miller even brought KPMG’s Riordan and Bennett to Alaska for an

   investors’ conference, where their only role was to show investors that KPMG was involved, and

   that Miller could be trusted. ¶ 242. Similarly, Miller repeatedly touted KPMG’s involvement on

   investor calls as evidence of the soundness of its financial statements. Id.

          G.      The truth emerges, and the Miller house of cards finally collapses.

          From the end of 2013 to the middle of 2015, the reality that Miller was a house of cards

   began to set in. Following a series of events and disclosures indicating that Miller would not be

   able to deliver on the promised oil production, on December 10, 2014, Miller (under a new CEO

   following Boruff’s departure) announced a whopping $265.3 million impairment charge to the

   Alaska Assets, citing, among other things, “expense overruns.” ¶ 218. Another $149.1 million

   write off followed on March 12, 2015. ¶ 222. Then, on April 29, 2015, the Company announced

   it had received a “Wells Notice” that the SEC intended to bring charges relating to the Alaska

   Assets. ¶ 223. This was followed in the next few months by the suspension of dividend

   payments, an announcement that Miller doubted its ability to operate as a going concern, the

   formal filing of SEC charges against Miller and several executives, de-listing from the NYSE, an


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   involuntary petition for bankruptcy filed by creditors against one of Miller’s subsidiaries, and

   eventually Miller’s own bankruptcy petition on October 1, 2015. ¶¶ 224, 227, 231.

          Finally, on March 29, 2016, the Company admitted that “after further review of financial

   information related to the valuation of the oil and gas properties acquired by the Company in

   Alaska in late 2009 … the Company has concluded that its financial statements from prior years

   beginning in fiscal year 2010 should no longer be relied upon.” ¶ 235.

          H.      The SEC finds that KPMG and Riordan violated the securities laws.

          On August 15, 2017, the SEC publicly announced charges for “improper professional

   conduct and securities law violations by KPMG and Riordan relating to a review and audit of the

   financial statements of Miller Energy Resources, Inc.” ¶ 238. Over nearly a hundred paragraphs

   of detailed findings, the SEC found that KPMG was repeatedly confronted with evidence that the

   Alaska Assets were overvalued, and yet turned a blind eye to that evidence, in violation of

   GAAS and numerous laws and regulations.10


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     The SEC specifically found that KPMG violated GAAS in the following ways: (1) failure to
   properly plan the audit (AU §§ 311 and 312); (2) failure to exercise due professional care and
   professional skepticism (AU §§ 230, 316, and 722); (3) failure to properly test fair value
   measurements and disclosures and using the work of the specialist (AU §§ 328, 342, and 336);
   (4) failure to obtain sufficient competent evidential matter (AU §§ 315 and 326); (5) failure to
   supervise the engagement team properly (AU § 311); (6) failure to prepare required
   documentation (AS 3); (7) failure to issue an accurate audit report (AU § 508); (8) failure to
   perform adequate personnel management (QC 20 and 40); and (9) failures relating to adequate
   competency and proficiency (AU §§ 210 and 161, QC 20).
   The SEC also found that KPMG violated Sections 4C(a)(2) and 4C(b)(2) of the Exchange Act
   and Rules 102(e)(1)(ii) and 102(e)(1)(iv)(B) of the Commission’s Rules of Practice because its
   conduct “involved repeated instances of unreasonable conduct, each resulting in violations of
   PCAOB standards and indicating a lack of competence,” and also constituted “highly
   unreasonable conduct resulting in violations of PCAOB standards in circumstances in which
   heightened scrutiny was warranted.” KPMG Order, Dkt. 67-1, ¶ 96.
   Finally, the SEC found that “KPMG and Riordan caused Miller Energy’s violations of Section
   13(a) of the Exchange Act, and Rules 13a-1 and 13a-13 thereunder,” which required Miller to
   file true and correct annual and quarterly reports with the SEC. Id., ¶¶ 97-98.



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          In anticipation of those charges, KPMG and Riordan offered to settle. Id. Yet,

   underscoring the graveness of the misconduct, the SEC still imposed extremely severe penalties,

   including the disgorgement of everything KPMG earned from working from Miller, totaling

   more than $5 million including interest, a $1 million penalty against KPMG, a $25,000 fine

   against Riordan, the banning of Riordan from appearing before the SEC, and an onerous reform

   program, to be monitored by the SEC.11

                                             ARGUMENT

          KPMG’s Rule 12(b)(6) motion seeks dismissal of the Section 10(b) claims for failure to

   plead scienter, loss causation, falsity, or an actionable scheme, as well as untimeliness. KPMG

   further seeks dismissal of the Section 11 claims for failure to comply with the PSLRA’s lead

   plaintiff procedures, untimeliness, and lack of falsity. These arguments fail.12

          To survive KPMG’s motion, Plaintiffs need only allege “sufficient factual matter,

   accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

   U.S. 662, 677 (2009). “When an allegation is capable of more than one inference, it must be

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      The specific penalties were: (1) a “complete review and evaluation … of the sufficiency and
   adequacy of KPMG’s quality controls”; (2) a “detailed written report … summarizing its review”
   to be delivered to the SEC; (3) the retention of “an independent consultant … not unacceptable to
   the [SEC]” to whom KPMG’s report would also be delivered; (4) “a review … of KPMG’s
   Policies and Procedures” by the independent consultant; (5) a “detailed written report”
   summarizing that review to be provided to KPMG, the SEC, and to the PCAOB; (6) the adoption
   of the independent consultant’s recommendations; (7) a certification by KPMG’s Vice Chair, in
   writing relating to those recommendations; (8) an examination of the adequacy of KPMG’s
   training programs; (9) several measures to ensure the independence of the independent
   consultant; (10) annual certifications by KPMG’s Vice Chair in connection with the foregoing
   measures; (11) KPMG’s formal censure; (12) denying Riordan the privilege of practicing before
   the SEC (with an opportunity for possible reinstatement after two years); (13) the disgorgement
   of $4,675,680 in audit and audit-related fees paid to KPMG by Miller, and prejudgment interest
   of $558,319; (14) a $1,000,000 fine for KPMG; and (15) a $25,000 fine for Riordan.
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     If the Section 11 claims are timely, the Section 10(b) claims are necessarily timely also,
   because they have a longer statute of limitations and more elements. Thus, Plaintiffs will discuss
   both together, focusing primarily on the Section 11 claims.



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   construed in the plaintiff’s favor.” Helwig v. Vencor, Inc., 251 F.3d 540, 553 (6th Cir. 2001).

   Rule 12(b)(6) “does not require ‘detailed factual allegations,’” Iqbal, 556 U.S. at 677, and the

   facts alleged need only “be enough to raise a right to relief above the speculative level.” Bell Atl.

   Corp. v. Twombly, 550 U.S. 544, 545 (2007).

   I.     PLAINTIFFS PLEAD A STRONG INFERENCE OF SCIENTER.

          Scienter allegations must be viewed holistically. In contrast to previous Sixth Circuit law,

   the Supreme Court requires courts to determine “whether all of the facts alleged, taken

   collectively, give rise to a strong inference of scienter, not whether any individual allegation,

   scrutinized in isolation, meets that standard.” Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551

   U.S. 308, 322-23 (2007). As a result, “[t]he only appropriate approach” is to begin and end the

   scienter analysis with a “collective view of [all] the facts, not the facts individually.” Frank v.

   Dana Corp., 646 F.3d 954, 961 (6th Cir. 2011) (“Frank II”) (emphasis added) (citing Tellabs and

   Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27 (2011)).13

           “[K]nowing and deliberate intent to manipulate, deceive, or defraud, and recklessness,”

   all constitute scienter. Frank II, 646 F.3d at 959 (citation omitted). In auditor liability cases,

   actionable recklessness exists where “the accounting practices were so deficient that the audit

   amounted to no audit at all, or an egregious refusal to see the obvious, or to investigate the

   doubtful, or that the accounting judgments which were made were such that no reasonable

   accountant would have made the same decisions if confronted with the same facts.” PR

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     Cf. Frank II, 563 U.S. at 961 (rejecting the prior approach whereby courts in the Sixth Circuit
   “conducted [the] scienter analysis in section 10(b) cases by sorting through each allegation
   individually before concluding with a collective approach.”). Notably, again in contrast to prior
   Sixth Circuit law, the inference of “scienter need not be irrefutable, i.e., of the ‘smoking gun’
   genre, or even the most ‘plausible of competing inferences,’” Tellabs, 551 U.S. at 324, and if
   equally strong inferences exist for and against scienter the “draw [goes] to the plaintiff.” Frank v.
   Dana Corp., 547 F.3d 564, 571 (6th Cir. 2008) (“Frank I”); cf. Helwig v. Vencor, 251 F.3d at
   553 (requiring the culpable inference be “the most plausible of competing inferences”).



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   Diamonds, Inc. v. Chandler, 364 F.3d 671, 693-94 (6th Cir. 2004). Facts showing that the

   auditor knowingly or recklessly disregarded red flags, particularly multiple and obvious red flags

   that “should have led the auditor to question its audit opinion,” “or at least would have given [the

   auditor] reasons to question the veracity of” the client’s representations, are sufficient. Id. at 687.

           Plaintiffs’ allegations easily meet these standards. As alleged, from the moment KPMG

   was retained, it was confronted with—and ignored—a staggering number of warning signs that

   the fair value of the Alaska Assets was not remotely close to what Miller claimed. For instance,

   KPMG knew that the RE Davis and the insurance broker reports were not suitable for valuing the

   Alaska Assets. ¶ 124. Yet, instead of requiring the Company to conduct a legitimate fair market

   value analysis in the first instance, KPMG bent over backwards to justify the Company’s

   baseless figure. Worse, KPMG did so in the face of warnings from its own experts that the

   Company’s assumptions were generating numbers that were “so high, it does not make sense.”

   ¶ 127. More, EVS repeatedly warned that its work depended on those assumptions, and asked the

   core engagement team to investigate. Id. These concerns were red flags that “should have led

   [KPMG] to question its audit opinion,” and to “question the veracity of” Miller’s representations,

   including about costs. PR Diamonds, 364 F.3d at 687. KPMG failed to do so. In fact, without

   ever meaningfully scrutinizing the provided assumptions, KPMG told Miller its internal analysis

   supported the Company’s valuation, and no restatement of the Alaska Assets was needed. ¶ 124.

   However, as the SEC revealed, KPMG achieved its confirmatory analysis only after a series of

   last-minute, unexplained, and undocumented changes to various inputs in EVS’s model. ¶ 125.

           These facts alone are sufficient for scienter because they show “an egregious refusal to

   see the obvious, or to investigate the doubtful.” PR Diamonds, 364 F.3d at 693. And yet, they are

   just the tip of the iceberg.




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          Well before issuing its first audit report, KPMG was presented with numerous other

   warning signs that the Company’s assumptions could not be trusted, and that the Alaska Assets

   were overvalued. These include Miller’s double counting of the above-ground infrastructure.

   ¶ 144. They also include the fact that Miller’s books were in such disarray that, in Gaylor’s

   words, KPMG had to “fix” them. ¶ 162. Equally troubling was that Miller had filed the 2011 10-

   K without KPMG’s authorization. ¶ 167. Moreover, this filing came the day after The Street

   Sweeper published a detailed public critique of the Alaska Assets’ valuation, ¶ 145, and was

   followed by both a shareholder class action and SEC subpoenas challenging that valuation.

   ¶¶ 146, 147. KPMG was aware of all these facts, and they all constituted red flags that “should

   have led [KPMG] to question its audit opinion” and “the veracity of” Miller’s representations

   about the Alaska Assets. PR Diamonds, 364 F.3d at 687. But instead, KPMG again turned a

   blind eye, and just a few weeks later, issued its first clean audit report asserting that Miller’s

   financial statements were accurate. ¶ 182.

          In the years to come, more red flags would follow. For example, at one point, Riordan

   and other KPMG employees witnessed two members of Miller’s accounting department getting

   drunk, angry, and disorderly, and complaining about their compensation, which should have

   alerted KPMG as to the quality of the financial information being generated by that department.

   ¶ 181. More generally, KPMG knew that Miller’s accounting department was perpetually devoid

   of qualified staff or executives, including a series of CFOs with little or no accounting

   experience, much less the oil and gas experience necessary for robust financial reporting. ¶ 139.

   KPMG was also aware of unorthodox personal financial arrangements, including Boruff’s

   financing the purchase of a $9.5 million estate backed by little more than the rising price of

   Miller’s stock, which should have led it to suspect that Boruff had a unique motive to inflate that




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   stock. ¶ 181. It also knew that Miller was perpetually unable to follow basic rules and

   requirements, such as forming an internal audit group, or ensuring its SEC filings were made on

   time, which should have raised further questions about the reliability of the Company’s financial

   information. ¶¶ 98, 181. In the face of ever more indisputable evidence that the Alaska Assets

   were overvalued, KPMG did nothing to investigate.14

          In the face of all these facts, KPMG’s clean audit reports and other misconduct cannot be

   interpreted as the result of anything less than extreme recklessness. As the warning signs flashed

   and the red flags piled on, KPMG stood idly by, unwilling to discharge its duty as a “public

   watchdog.” And, as the facts plausibly show, KPMG’s failures arose out of “an egregious refusal

   to see the obvious, or to investigate the doubtful,” PR Diamonds, 364 F.3d at 693, if not a

   deliberate effort to conceal its own wrongdoing. KPMG’s audits were thus “no audit at all,” and

   scienter is adequately alleged.

          Against these overwhelming allegations of scienter, KPMG resorts to legally and

   factually dubious arguments, all of which fail. Indeed, KPMG tellingly does not even mention

   critical facts revealed by the SEC’s investigation about its awareness of numerous red flags. For

   instance, KPMG’s scienter argument ignores EVS’s warnings to Riordan and the core

   engagement team that the valuations it was arriving at, based on assumptions supplied by the

   Company, “make no sense.” See MTD at 16. It also ignores its knowledge that the RE Davis and



   14
      Nor can KPMG claim that Miller kept facts hidden from it. As Plaintiffs allege, and as the
   SEC’s findings make clear, just the opposite was true: KPMG had ready access to all the
   necessary information, and the slightest inquiry would have revealed that the assumptions
   underpinning the Alaska Assets’ valuation, including about extraction costs, were a fiction.
   ¶ 178. Indeed, one of the documents that would have made this clear—Miller’s 2011 budget—
   was in KPMG’s actual possession. ¶ 131. KPMG also cannot argue that the Alaska Assets were
   just a small part of a sprawling and complex business empire. Just the opposite was true—the
   Alaska Assets defined Miller, and for all intents and purposes, constituted its entire business.



                                      21
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   insurance broker reports on which Miller based the Alaska Assets’ valuations were wholly

   inappropriate for that purpose. Id. It similarly ignores its knowledge of the double counting

   problem. Id. Indeed, it mentions essentially none of the facts and findings detailed in the KPMG

   Order showing that KPMG had ample notice, if not actual knowledge, that the Alaska Assets

   were overvalued. Id. For this reason alone, KPMG’s scienter argument must be rejected.

          Further, KPMG’s scienter analysis should be rejected because, rather than being holistic,

   it employs a quintessential divide-and-conquer approach that runs afoul of Tellabs, Matrixx, and

   Frank II (which KPMG does not even cite).15 And courts that properly conduct a holistic

   analysis have sensibly concluded that the types of allegations KPMG rejects out of hand should

   inform the scienter inquiry. E.g., In re Suprema Specialties, Inc. Sec. Litig., 438 F.3d 256, 279

   (3d Cir. 2006) (“At the pleading stage, courts have recognized that allegations of GAAS

   violations, coupled with allegations that significant ‘red flags’ were ignored, can suffice to

   withstand a motion to dismiss.”) (collecting cases).16


   15
      KPMG’s improperly atomized arguments also fail on their own terms, because with few
   exceptions, the cited cases merely say that various types of allegations cannot by themselves
   satisfy the PSLRA’s pleading standard for scienter, e.g., Louisiana Sch. Emps. Ret. Sys. v. Ernst
   & Young, LLP, 622 F.3d 471, 481 (6th Cir. 2010) (failure to follow GAAP “is, by itself,
   insufficient”) (emphasis added); Fidel v. Farley, 392 F.3d 220, 230 (6th Cir. 2004) (failure to
   follow GAAP “does not in and of itself lead to an inference of scienter”) (emphasis added), or
   that “general” or “vague” allegations do not support scienter. E.g., Louisiana, 622 F.3d at 481
   (“General allegations regarding an auditor’s access to information do not raise an inference of
   fraud.”). Such authorities have little application here, because Plaintiffs do not rely on any single
   fact or general allegations. KPMG’s authorities are also undermined by the fact that they all
   predate Frank II, which rejected a categorical approach to scienter as inconsistent with Supreme
   Court precedent. Finally, in none of the cases cited by were the GAAP and GAAS violations
   nearly as egregious as those at issue here.
   16
      See also In re Rent-Way Sec. Litig., 209 F. Supp. 2d 493, 507 (W.D. Pa. 2002) (“[W]here
   plaintiffs have pled facts explaining how the [professional accounting and auditing] standards
   were recklessly or consciously violated … courts have found them probative.”); In re
   MicroStrategy, Inc. Sec. Litig., 115 F. Supp. 2d 620, 655 (E.D. Va. 2000) (“By violating the
   GAAS requirement of independence, PwC has weakened its ability to rely on its reputation in



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          KPMG also argues that it would be implausible and “economically irrational” for KPMG

   to risk its reputation by being aware “of some on-going fraud at the Company and decid[ing] to

   join it.” E.g., MTD at 14. However, this misstates the standard—KPMG is equally liable for

   egregiously refusing to investigate facts and circumstances suggesting fraud after being retained,

   and scienter does not require it to knowingly join an ongoing fraud. More to the point,

   however—and even though “the absence of a motive allegation is not fatal,” Tellabs at 325—

   Plaintiffs plausibly allege numerous motives for KPMG’s misconduct.

          As an initial matter, KPMG personnel have recently risked the firm’s reputation in other

   audit matters. In April 2017, for instance, KPMG was forced to fire five senior partners,

   including its national managing partner for audit quality and professional practice, after

   improperly obtaining confidential information from the PCAOB regarding which audits PCAOB

   planned to inspect. ¶ 174. As another example, in recent inspections of the Big Four accounting

   firms, KPMG’s audits had the most deficiencies, with deficiency rates of 54% and 38% in 2015

   and 2016 respectively. ¶ 175. Thus, whatever the precise reasons for KPMG’s misconduct here,

   it was neither unprecedented nor wholly out of character.

          As to motive, Gaylor’s sworn statement provides insight. Specifically, Gaylor stated that

   Riordan and Bennett were unabashed about asking Gaylor for introductions to the Knoxville-area

   business elite since KPMG lacked lucrative accounts in the area. ¶ 180. Of course, the Miller

   account was itself highly lucrative, as evidenced by the $4.6 million Miller paid KPMG over the



   countering as ‘irrational’ allegations that it participated in a client’s fraud[.]”); In re Carter’s,
   Inc. Sec. Litig., No. 1:08-CV-02940-AT, 2012 WL 3715241, at *6 n.14 (N.D. Ga. Aug. 28,
   2012) (lack of independence, “considered in combination” with other allegations, “provide
   further support for the inference of recklessness on the part of PwC”); In re Envoy Corp. Sec.
   Litig., 133 F. Supp. 2d 647, 660 (M.D. Tenn. 2001) (“GAAP violations along with other
   circumstances, can create a strong inference of scienter.”) (modifications and citation omitted).



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   course of the engagement. ¶ 238. See In re WorldCom, Inc. Sec. Litig., No. 02 CIV. 3288(DLC),

   2003 WL 21488087, at *4 (S.D.N.Y. June 25, 2003) (noting that “WorldCom was the most

   valuable client for Andersen’s branch office in Jackson, Mississippi”).17

          Another fact indicating motive is that Riordan preemptively assured the Company’s

   Audit Committee that KPMG did not anticipate needing to restate the Alaska Assets’ valuation.

   ¶ 142. Indeed, after facts undermining the valuation came to light, Riordan emailed EVS to

   inform them of the assurance he had provided the Audit Committee. ¶ 143. A plausible inference

   is that because Riordan and KPMG had already given that assurance, it was too difficult to

   renege on that assurance and require a restatement.

          A final motivating factor was that because KPMG had become complicit in the

   overvaluation from the outset, it was left with little choice but to accept that overvaluation as the

   years went on, or risk revealing its own role in perpetuating it. Indeed, as Gaylor testified, the

   reason KPMG “stuck around” was that “they [were] culpable at that point forward.” ¶ 167. Thus,

   KPMG’s argument that it would be “irrational” for it to act with scienter must be rejected.

          KPMG’s next argument is, somewhat incredibly, that there were no red flags of fraud, in

   part because anything that had been publicly disclosed cannot constitute a red flag as a matter of

   law. But there is no principle in law, logic, or accounting that says that only non-public facts can

   trigger an auditor’s duty to investigate more closely. E.g., Sun v. Han, No.: 15-703 (JLL), 2015


   17
     See also MicroStrategy, 115 F. Supp. 2d at 655-56 (“Moreover, that PwC clearly would have
   received concrete benefits, through its partnership with MicroStrategy, from certifying and
   maintaining the Company’s allegedly false and misleading financial reports lends more weight to
   a stronger inference of scienter.”); In re Fleming Companies Inc. Sec. & Derivative Litig., No.
   CIVA503MD1530TJW, 2004 WL 5278716, at *40 (E.D. Tex. June 16, 2004) (“[A]llegations
   that D[eloitte] & T[ouche] had sufficient motive through its work as the company’s consultant
   and receipt of consulting fees amounting to twice that of its auditing fees are sufficient to support
   an inference of scienter as well.”).



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   WL 9304542, at *16 (D.N.J. Dec. 21, 2015) (“The Court is unwilling to disregard these ‘red

   flags’ merely because they were publicly disclosed…. Defendant has not directed this Court to

   any case law in the Third Circuit or elsewhere, nor is the Court aware of any cases, holding that

   ‘red flags’ that are disclosed to the public cannot, as a matter of law, result in an inference of

   scienter.”)18 Further, this argument ignores the non-public nature of some of the most important

   red flags, such as the repeated warnings of KPMG’s own internal valuation specialists, the fact

   that Miller’s valuation was based on the wholly unsuitable RE Davis and insurance broker

   reports, and the fact that Miller had double counted the above-ground infrastructure. Thus, this

   argument also fails.

          KPMG next argues that issuing negative opinions about Miller’s internal controls, and

   requiring the restatement of the fiscal 2010 10-K, support a nonculpable inference. MTD at 15-

   16. But an equally plausible, and thus controlling, inference is that Miller’s internal controls

   were so obviously deficient that a clean opinion would have raised suspicions about KPMG’s

   other work, including its clean audit reports.19 The restatement likewise cannot overcome the

   inference of culpability because, as explained, it exacerbated the fraud, by making the double

   counting problem harder to detect. Supra at 10-13. These facts cannot defeat scienter.


   18
      KPMG’s cases to the contrary, In re Longtop Financial Technologies Ltd. Securities
   Litigation, 910 F. Supp. 2d 561, 577 (S.D.N.Y. 2012) and Special Situations Fund III QP, L.P. v.
   Deloitte Touche Tohmatsu CPA, Ltd., 33 F. Supp. 3d 401, 431 (S.D.N.Y. 2014), are outliers and
   should not be followed, to the extent they can even be read to stand for the proposition that the
   public nature of a fact categorically bars consideration of it as a red flag. Cf. Sun, 2015 WL
   9304542, at *16 n.12 (suggesting that Longtop cannot be so read). Indeed, such a rule would
   create the absurd result where an auditor would never have a duty to investigate a public fact, or
   the similarly bizarre situation where an auditor, previously under a duty to investigate after
   learning of a bad fact, would be absolved of that duty when that fact becomes public.
   19
      Such an inference does not appear to have been considered or advanced in Buttonwood Tree
   Value Partners, LP v. Sweeney, 910 F. Supp. 2d 1199, 1207 (C.D. Cal. 2012), cited by KPMG,
   making that case of little relevance here.



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          KPMG next relies on the fact that it was retained in 2011, after Miller and Sherb had

   decided on a value for the Alaska Assets, and after Sherb had issued a clean audit report. MTD at

   15. But these facts could only support a nonculpable inference by closing one’s eyes to KPMG’s

   own decision to defend that value in the face of contrary evidence, and to Sherb’s demonstrated

   record of accounting malfeasance. ¶ 27. These facts thus do not help KPMG.

          Even more brazenly, KPMG asserts that its own clean audit reports support a nonculpable

   inference. See MTD at 15 (“The fact that two separate independent audit firms (Sherb & Co. and

   KPMG) audited the Company’s financial statements … and found no material misstatement”

   supports KPMG). This is absurd. KPMG cannot defend against allegations that its audits were

   fraudulent by relying on the challenged—and now admittedly false—audits themselves.

          KPMG also relies on the SEC’s relative silence in 2012 following earlier inquiries as

   evidence that “there was no obvious fraud and that KPMG did not intentionally or recklessly join

   in.” MTD at 15. However, given KPMG’s role in lulling the SEC into temporary inaction, this

   argument should be rejected. ¶ 67. Moreover, the SEC specifically stated in its 2012 letter that its

   comments in those letters could not be used “as a defense in any proceeding initiated by … any

   person under the federal securities laws,” see Dkt. 65-9, and it is well known that SEC

   investigations take years to complete.

          Next, relying on Louisiana Sch. Emps. and Stambaugh v. Corrpro Cos., 116 Fed. Appx.

   592 (6th Cir. 2004), KPMG argues that the magnitude of the Miller fraud is irrelevant to its

   scienter. This is a red herring. Plaintiffs do not argue that the size of the fraud indicates scienter.

   Rather, Plaintiffs argue that because the Alaska Assets were essentially the only asset on Miller’s

   balance sheet, KPMG’s failure to subject them to any meaningful scrutiny was at least extremely

   reckless. E.g., New Mexico State Inv. Council v. Ernst & Young LLP, 641 F.3d 1089, 1099 (9th




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   Cir. 2011) (“[A]n auditor, in fulfilling duties of public trust, should take a long hard look at a

   transaction of $700 million, roughly a quarter of Broadcom’s reported revenue in 2006 of $2.5

   billion.”). Plaintiffs also argue that the critical importance of the Alaska Assets to Miller’s

   financials makes it highly doubtful that KPMG was unaware—particularly in light of numerous

   glaring red flags—that its valuation was inflated by more than $400 million. E.g., MicroStrategy,

   115 F. Supp. 2d at 653 (“As to the NCR contract revenue-recognition issue … it is simply the

   case that the importance of this ‘watershed’ agreement to MicroStrategy and its enormous impact

   on the Company’s financial status make it less likely that PwC’s auditors were unaware that

   revenue from this agreement was recognized before any contract existed between the parties.”).

          Finally, although KPMG claims in the fact section of its brief that the SEC charges were

   for less-than-reckless wrongdoing, KPMG’s scienter analysis does not actually argue this means

   the facts, taken together, support an inference of negligence, and certainly not that such an

   inference is more compelling than an inference of recklessness. Nor could it, given that those

   charges were the product of a negotiated settlement. Indeed, given the detailed SEC findings

   demonstrating, at a minimum, extreme recklessness, and the severity of the penalties levied, that

   KPMG acted with scienter is clearly the most plausible inference.

          In sum, KPMG’s arguments cannot defeat the inference that its conduct amounted to “no

   audit at all,” because they do not create a more plausible opposing inference, as required.

   II.    PLAINTIFFS ADEQUATELY PLEAD LOSS CAUSATION.

          As the Supreme Court explained in Dura Pharmaceuticals, Inc. v. Broudo, the pleading

   standard for loss causation is “not meant to impose a great burden” and merely requires

   “provid[ing] a defendant with some indication of the loss and the causal connection that the

   plaintiff has in mind.” 544 U.S. 336, 347 (2005). On the merits, loss causation can be shown

   through both a “corrective disclosure” theory, where the market reacts negatively to a disclosure


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   of facts and truth concealed by the alleged fraud, and through a “materialization of risk” theory,

   whereby the market reacts negatively to the materialization of foreseeable risks concealed by the

   alleged fraud. Ohio Pub. Emps. Ret. Sys. v. Fed. Home Loan Mortg. Corp., 830 F.3d 376, 384-85

   (6th Cir. 2016). Moreover, the concealed facts, truths, and risks need not be revealed in a single

   event, and may instead “leak out” through a series of events or partial disclosures. E.g., Pub.

   Emps. Ret. Sys. of Mississippi, Puerto Rico Teachers Ret. Sys. v. Amedisys, Inc., 769 F.3d 313,

   322 (5th Cir. 2014) (“Nor does the corrective disclosure have to be a single disclosure; rather, the

   truth can be gradually perceived in the marketplace through a series of partial disclosures.”).

   Furthermore, an event or disclosure need not reveal the precise nature of the fraud, and plaintiffs

   need not allege a “fact-for-fact disclosure,” because otherwise “a defendant could defeat liability

   by refusing to admit the falsity of its prior misstatements.” Alaska Elec. Pension Fund v.

   Flowserve Corp., 572 F.3d 221, 230 (5th Cir. 2009).20 And, so long as the alleged loss causation

   theory is “plausible,” a complaint survives dismissal. Ohio Pub. Emps. Ret. Sys., 830 F.3d at 388

   (“OPERS need only allege sufficient facts to support a plausible [loss causation] claim—not the

   most likely—at this stage.”).

          Plaintiffs more than meet these standards. Specifically, the crux of Plaintiffs’ allegations

   is that KPMG’s misconduct concealed the massive and foreseeable risk of Miller’s inevitable

   collapse, causing equally massive and foreseeable losses as that risk, and the truth, materialized

   and leaked out in various ways. ¶¶ 197-248 (alleging a series of loss-causing events and

   disclosures in which the risks and truths concealed by, and the effects associated with, KPMG’s

   fraud were revealed, leaked out, and materialized, all foreseeable to KPMG).

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      See also Ohio Pub. Emps. Ret. Sys., 830 F.3d at 385 (“We are mindful of the dangerous
   incentive that is created when the success of any loss causation argument is made contingent
   upon a defendant’s acknowledgement that it misled investors.”).



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          KPMG does not meaningfully challenge the plausibility of the vast majority of these

   allegations, and thus concedes them. Instead, KPMG specifically challenges only a single

   disclosure, namely a December 17, 2013 shareholder letter “decrying … management’s lack of

   expertise with respect to the Alaska Assets.” ¶ 199. Yet, even then, KPMG does not actually

   dispute that this letter was a partial materialization of risk, or a partial disclosure of relevant

   truth. Nor could it—as Plaintiffs allege, KPMG’s conduct concealed, among other things,

   management’s inability “to profitably produce meaningful amounts of oil from the Alaska

   Assets.” ¶ 197. Given that the December 17, 2013 letter accuses Miller’s management of exactly

   that, the causal connection is adequately pleaded.

          Still, KPMG argues that the letter “was nothing new,” and that “shareholders had been

   criticizing management’s handling of the Alaska Assets for years.” MTD at 17. However, given

   that KPMG does not and cannot challenge that investors suffered a loss that day, that amounts to

   either a truth-on-the-market defense, or a competing loss causation defense, neither of which is

   appropriate for resolution at the pleadings stage.21

          More generically, KPMG then also argues that “Plaintiffs have not pleaded facts

   supporting the claim that the price declined in response to the disclosure of any new information

   relating to KPMG.” MTD at 18 (emphasis in MTD). KPMG’s argument is thus that absent a

   “disclosure” of “new information relating to KPMG,” KPMG’s misconduct could not have


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      E.g., Payne v. DeLuca, 433 F. Supp. 2d 547, 559 n.7 (W.D. Pa. 2006) (“Truth-on-the-market
   analysis is intensely fact specific and thus seldom appropriate at the pleading stage.”); Amedisys,
   769 F.3d at 325 (“Whether the connection between Amedisys’s misleading statements and the
   alleged corrective disclosures may ultimately be found too attenuated at a later stage in litigation
   is a highly fact intensive inquiry that need not be reached at this point.”); Winslow v.
   BancorpSouth, Inc., No. 3:10-00463, 2011 WL 7090820 at *11, (M.D. Tenn. April 26, 2011),
   report and recommendation approved, 2012 WL 214635 (holding that “it is not encumbent upon
   Plaintiff at this point to disprove other possible reasons for the drop”).



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   caused losses. The problem is that, in addition to ignoring the Plaintiffs’ materialization of risk

   allegations, KPMG cites no authority for this proposition—and none exists. Indeed, even under a

   corrective disclosure theory, a disclosure need not mention KPMG at all to be “corrective,” and

   need only reflect part of the “relevant truth” concealed by KPMG’s misconduct. E.g., Winslow v.

   BancorpSouth, Inc., 2011 WL 7090820, at *12, report and recommendation approved, No. 3:10-

   CV-00463, 2012 WL 214635 (M.D. Tenn. Jan. 24, 2012) (“‘[T]o establish loss causation the

   disclosed information must reflect part of the “relevant truth”—the truth obscured by the

   fraudulent statement.’”) (quoting Alaska Elec., 572 F.3d at 230). Given that KPMG does not

   even cite this standard, this argument also fails.

          Thus, Plaintiffs adequately plead loss causation, and KPMG’s arguments fail.

   III.   PLAINTIFFS ADEQUATELY STATE A SCHEME LIABILITY CLAIM.

          To survive dismissal of the scheme liability claim, Plaintiffs need only allege “conduct

   beyond mere misrepresentations or omissions actionable under Rule 10b-5(b),” and a “causal

   connection between the defendants’ alleged deceptive act and the information on which the

   market relied [that] is not too remote to support a finding of reliance.” W. Virginia Pipe Trades

   Health & Welfare Fund v. Medtronic, Inc., 845 F.3d 384, 393, 394 (8th Cir. 2016).

          Plaintiffs plausibly allege both. Plaintiffs allege that KPMG engaged in deceptive

   conduct beyond issuing the audit reports forming the basis for the Rule 10b-5(b) claims. For

   instance, KPMG defended the Alaska Assets’ valuation to the SEC before it had even completed

   its first audit, despite knowing and having evidence that that valuation was unsupported. ¶¶ 124,

   145, 147. KPMG also met with investors to bolster Miller’s credibility, despite being aware of

   facts showing that that credibility was undeserved. ¶¶ 171-73. More generally, Plaintiffs allege

   that KPMG supplied its imprimatur to bolster Miller’s credibility in a variety of contexts,

   including on investor calls, and in connection with the settlement of In re Miller, again despite


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   being aware of facts that such credibility was unwarranted, particularly in connection with the

   Alaska Assets’ valuation. ¶¶ 173, 241, 243-44. Because this conduct extends “beyond mere

   misrepresentations or omissions,” Plaintiffs plausibly allege deceptive acts.22

          Plaintiffs also allege a direct “causal connection between the defendants’ alleged

   deceptive act and the information on which the market relied.” The information “on which the

   public relie[d]” was that the Alaska Assets were worth what Miller claimed they were—

   information that KPMG does not and cannot dispute was false. KPMG’s deceptive conduct

   directly prevented that truth from reaching the market through, for example, SEC investigations,

   further litigation of In re Miller, or increased investor skepticism, all of which was stymied by

   KPMG’s deceptive conduct. ¶¶ 170-73, 243-48. Thus, reliance is adequately alleged as well.

          KPMG argues that because investors were unaware of its allegedly deceptive conduct,

   they could not have relied on it. MTD at 21-22. That argument fails, however, because scheme

   reliance does not require actual knowledge of the deceptive conduct, but merely a sufficiently

   close causal connection between the conduct and “the information on which the market relied.”

   Medtronic, 845 F.3d at 394 (8th Cir. 2016). Indeed, one way that causal connection can be

   shown is through the fraud-on-the-market theory, which Plaintiffs have pleaded here, and which

   KPMG has not challenged as implausible or inadequately alleged. In re Smith Barney Transfer

   Agent Litig., 884 F. Supp. 2d 152, 161 (S.D.N.Y. 2012) (noting that fraud-on-the-market theory

   was a potential avenue by which investors’ reliance could be pleaded).


   22
     KPMG argues that the allegations regarding its meeting with investors are insufficient because
   such meetings are not inherently deceptive, and because they lack particularity. But Plaintiffs’
   theory is not that such meetings are inherently deceptive, but rather were deceptive here because
   KPMG knew that the Alaska Assets were likely overvalued. As for particularity, the allegation is
   based on the sworn testimony of Bobby Gaylor, who attended the meeting. ¶¶ 167, 171. In all
   events, the meeting is only one example of KPMG’s deceptive conduct.



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          KPMG also argues that the scheme liability claim fails because “it is not truly based on

   ‘conduct’ unrelated to alleged misstatements or omissions.” MTD at 22. But there is no authority

   that the deceptive conduct must be “unrelated” to any misrepresentations, and KPMG cites none.

   Instead, the SAC need only allege deceptive conduct “beyond” misrepresentations, and

   numerous courts have upheld scheme liability claims despite the presence of “related”

   misrepresentations. E.g., Smith Barney, 884 F. Supp. 2d at 161 (deceptive acts taken “in addition

   to” statements or omissions suffice to plead deceptive scheme); Medtronic, Inc., 845 F.3d at 393

   (precedent “do[es] not hold that the alleged scheme can never involve any misrepresentation in

   order for the scheme liability claim to survive.”)23

   IV.    PLAINTIFFS PLEAD THE FALSITY OF KPMG’S AUDIT REPORTS.

          KPMG also seeks dismissal of the Section 10(b) misstatement claim (Count One) and the

   Section 11 claims, for lack of falsity. As to Section 10(b), relying on Longtop, 910 F. Supp. 2d at

   580, KPMG asserts that “[a]n audit report is a statement of opinion that is false only if the

   speaker does not believe it … and Plaintiffs have not pleaded that KPMG did not believe its

   audit opinions.” MTD at 20. Similarly, as to Section 11, KPMG argues that, under Omnicare,

   Inc. v. Laborers District Counsel Construction Industry Pension Fund, 135 S. Ct. 1318 (2015),

   KPMG’s audit reports can only be false “if [KPMG] did not believe it.” MTD at 36. These

   arguments fail for several reasons.


   23
      For similar reasons, the Court should reject KPMG’s argument that the scheme liability
   allegations are a mere repackaging of misrepresentation allegations, in violation of the bars on
   various forms of “secondary liability” set forth in Central Bank of Denver, N.A. v. First
   Interstate Bank of Denver, N.A., 511 U.S. 164, 177 (1994) (aiding and abetting liability) and
   Janus Capital Group, Inc. v. First Derivative Traders, 564 U.S. 135, 142-43 (2011) (non-speaker
   liability). MTD at 21 n.15. Put simply, KPMG is accused of primary misconduct, and the mere
   presence of other misrepresentations, such as KPMG’s audit reports or Miller’s financial
   statements, does not change that.



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          As an initial matter, the challenged reports each stated that KPMG “conducted our audit

   in accordance with the standards of the Public Company Accounting Oversight Board (United

   States).” ¶¶ 182, 184, 186, 188, 299, 301, 305, 309. Those statements—which the SEC revealed

   to be patently false, see ¶¶ 310-312—are on their face statements of fact, not opinion. For that

   reason alone, KPMG’s argument fails.

          Further, as to the portions of the audit reports that purport to set forth KPMG’s “opinion,”

   they are not the type of opinion statements contemplated by Omnicare. See Special Situations

   Fund III QP, L.P. v. Marrone Bio Innovations, Inc., 243 F. Supp. 3d 1109, 1116 (E.D. Cal. 2017)

   (“[A]udit opinions are not of the same substance as those discussed in Omnicare. The Supreme

   Court in that case keeps a running hypothetical of a CEO who opines, ‘I believe … the TVs we

   manufacture have the highest resolution available on the market.’ These sorts of opinions are

   qualitatively different from an auditor’s professional opinion about the soundness of a

   company’s financial statements.”) (citation omitted).

          Moreover, even if Omnicare applied, and it does not, KPMG badly misstates the case,

   because KPMG’s subjective disbelief is only one of three ways to satisfy Omnicare. A second is

   if KPMG’s opinions “contain]ed] embedded statements of [untrue] fact” in support of those

   opinions. Omnicare, 135 S. Ct. at 1327. And a third is if KPMG “omit[ed] material facts about

   [its] inquiry into or knowledge concerning” its audit reports that “conflict with what a reasonable

   investor would take from” those opinions. Id. at 1329. KPMG’s failure to meaningfully discuss

   these aspects of Omnicare is fatal. And all three Omnicare theories are met in any event.

          First, as to subjective disbelief, KPMG was warned by its own valuation specialists that

   using assumptions provided by Miller resulted in valuations that were “so high, it does not make

   sense.” ¶ 127. That KPMG ignored this and numerous other warnings creates the plausible




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   inference that KPMG did not actually believe its clean audit reports. And, as with scienter, that

   inference becomes stronger over time.

          Second, KPMG’s audit reports contained numerous embedded statements of fact. For

   instance, each falsely asserted that KPMG’s audits were conducted in accordance with PCAOB

   standards. ¶¶ 137-38, 157-58. Further, each referenced Miller’s “consolidated financial

   statements,” “the financial position of the [C]ompany as of” a given date, and “the results of [the

   Company’s] operations and cash flows” for a given fiscal year. ¶¶ 182-97. All these were factual

   in nature (and false), and by incorporating them KPMG is liable for them. See In re Petrobras

   Sec. Litig., 14-cv-9662 (JSR), 2016 WL 1533553, at *3-4 (S.D.N.Y. Feb. 19, 2016) (denying

   motion to dismiss Section 11 claims against PwC because “[t]he facts of the financial statements

   were embedded in PwC’s audit opinions”).

          Third, KPMG’s audit reports omitted a slew of contradictory material facts, including the

   warnings issued by its own valuation specialists, its lack of independence from its client, its

   shoddy investigation into the Alaska Assets, its failure to comply with GAAS in conducting its

   audit, and the core engagement team’s lack of expertise, all of which were “material facts about

   [KPMG’s] inquiry” that “conflict[ed] with what a reasonable investor would take from the

   statement itself,” Omnicare, 135 S. Ct. at 1329, namely that KPMG had performed a reasonable

   audit, in accordance with PCAOB standards and GAAS, and had not encountered any reasons to

   doubt the accuracy of Miller’s financial statements.24 Thus, KPMG’s falsity argument fail.25,26



   24
      To be clear, KPMG’s failure to disclose these facts render its opinion statements false and
   misleading, even if it subjectively believed them. As the Supreme Court explained in Omnicare,
   “[i]n the context of the securities market, an investor” expects opinion statements “to rest on
   some meaningful inquiry—rather than, say, on mere intuition, however sincere.” Omnicare at
   1328-9. Thus, opinion statements about legal compliance made “in the face of its lawyers’
   contrary advice, or with knowledge that the Federal Government was taking the opposite view”



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   V.        PLAINTIFFS ADEQUATELY ALLEGE SECTION 11 CLAIMS AGAINST
             KPMG.

             Standing to represent preferred shareholders.27 KPMG argues that the Section 11 claims

   on behalf of preferred shareholders must also be dismissed because “Mr. Weakley and his

   counsel are not authorized [under the PSLRA] to serve as lead plaintiff and lead plaintiff’s

   counsel” on behalf of preferred shareholders, as opposed to common shareholders. MTD at 23.

   However, the Section 11 claims are brought not just by Mr. Weakley, but also by Messrs. Cosby

   and Martin. ¶¶ 14-16. Because KPMG does not challenge their authority to bring Section 11




   are misleading, even if the company believed what it was saying. Id. at 1329. Given that the
   purported opinion statements here are the statutorily required “certifications” of a public
   independent auditor, it is doubly true that subjective belief cannot preclude liability. Special
   Situations Fund III, 243 F. Supp. 3d at 1117 (“[R]egistration statements are required by statute to
   include [certain financial statements] … that have been ‘certified by an independent public or
   certified accountant.’”) (quoting 15 U.S.C. § 77aa(25)-(26)).
   25
      See also In re Lehman Bros. Sec. and ERISA Litig., 131 F. Supp. 3d 241, 258 (S.D.N.Y. 2015)
   (denying Ernst & Young’s motion for summary judgment under Omnicare when there was
   evidence that “would permit a jury to infer that EY had information in hand that strongly
   suggested that Lehman’s quarter-[] and year-end balance sheets were misleading”); Petrobras,
   2016 WL 1533553, at *4 (“A reasonable person reading PwC’s audit opinions fairly and in
   context would conclude that the financial statements and evidence reviewed by PwC were the
   bases of its opinions. If these facts were missing from PwC’s audit opinions, the opinions would
   be misleading. Thus, to the extent PwC argues that its audit opinions are pure opinion by
   severing them from their underlying factual basis, PwC opens itself to omissions liability under
   Omnicare.”); see also Suprema Specialties, 438 F.3d at 279 (“A showing that an auditor either
   lacked a genuine belief that its representations were supported by adequate information or
   engaged in auditing practices so shoddy that they amounted at best to a ‘pretended audit’ has
   traditionally supported a finding of liability[.]”); see also Longtop, 910 F.Supp.2d at 580
   (holding that an auditor’s opinion is actionable if it is “grounded on a specific factual premise
   that is false,” and if the auditor’s belief in that premise is not “reasonabl[e].”).
   26
      KPMG half-heartedly, and without any legal support, tries to preempt this argument by
   claiming that “Plaintiffs’ primary theory is based on a[n affirmative] misstatement theory” that
   somehow precludes an omissions theory of falsity. MTD at 37-38. The problem is that this
   argument flies in the face of Omnicare, and many other auditor liability cases besides—all of
   which involve what KPMG describes as “affirmatively false statements.”
   27
        KPMG concedes Plaintiffs can assert Section 10(b) claims on behalf of preferred stockholders.



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   claims on behalf of preferred shareholders, KPMG’s argument fails.28,29

             Relation back. KPMG also wrongly asserts that the Section 11 claims do not relate black

   to the original complaint. Under Rule 15(c)(1)(B), an amended pleading “relates back to the date

   of the original pleading when … the amendment asserts a claim … that arose out of the conduct,

   transaction, or occurrence set out—or attempted to be set out—in the original pleading.” Courts

   in the Sixth Circuit do not parse the phrase “conduct, transaction, or occurrence,” and instead

   focus on “whether the party asserting the statute of limitations defense had been placed on notice

   that he could be called to answer for the allegations in the amended pleading.” U.S. ex rel.

   Bledsoe v. Cmty. Health Sys., Inc., 501 F.3d 493, 516 (6th Cir. 2007). Further, “[in] a securities

   fraud action, courts examine whether the allegations relate to the same statements and/or

   documents referenced in the original complaint.” In re Enron Corp., No. H-01-3624, 2005 WL

   1638039, at *4 (S.D. Tex. June 21, 2005) (internal quotation marks omitted).30


   28
       Although KPMG does not argue otherwise, there is no question Messrs. Cosby and Martin
   may assert class claims on behalf of preferred shareholders. “[I]n a putative class action, a
   plaintiff has class standing if he plausibly alleges (1) that he personally has suffered some actual
   ... injury as a result of the putatively illegal conduct of the defendant, and (2) that such conduct
   implicates the same set of concerns as the conduct alleged to have caused injury to other
   members of the putative class by the same defendants.” NECA–IBEW Health & Welfare Fund v.
   Goldman Sachs & Co., 693 F.3d 145, 162 (2d Cir. 2012) (citation and quotation marks omitted).
   For instance, in In re Eletrobras Sec. Litig., 245 F. Supp. 3d 450, 461 (S.D.N.Y. 2017), the court
   held that the plaintiffs, who had only purchased American Depositary Shares (“ADS”), akin to
   common stock, could nevertheless bring claims on behalf of bondholders, despite not being
   bondholders themselves. Id. at 461 (“As purchasers of Eletrobras’s ADSs during the class period,
   the named plaintiffs have plausibly pleaded that they suffered some actual injury as a result of
   the allegedly material misrepresentations in Eletrobras’s annual reports, press releases, and
   public statements in a way that ‘was broadcast at the same time to all members of the public,
   prospective shareholders and prospective bondholders alike.’”) (quoting In re Winstar Commc’ns
   Sec. Litig., 290 F.R.D. 437, 452 (S.D.N.Y. 2013)).
   29
        Moreover, since KPMG is not a defendant in Gaynor, there is no risk of overlap in claims.
   30
     See also In re National Media Sec. Litig., No. Civ. A. 93-2977, 1994 WL 649261, *2 (E.D.Pa.
   Nov. 18, 1994) (amended complaint relates back where new allegations allege
   misrepresentations relating to the same product line in the same public statements); Lind v.



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          Plaintiffs easily meet these standards. The original complaint asserted Section 11 claims

   against KPMG based on Miller’s September 6, 2012 Registration Statement, and each of the

   relevant final Prospectuses issued pursuant to that Registration Statement, all of which were

   alleged to be misleading because of the overvalued Assets. See Dkt. 1, ¶¶ 52-56. The SAC

   likewise asserts Section 11 claims against KPMG based on the same Registration Statement and

   prospectuses, on the same theory of falsity. ¶¶ 56, 189-97. Thus, the SAC’s Section 11

   allegations indisputably “relate to the same statements and/or documents referenced in the

   original complaint,” Enron Corp., 2005 WL 1638039, at *4, and the original complaint

   unquestionably “placed [KPMG] on notice that [KPMG] could be called to answer for the

   [Section 11] allegations in the [SAC].” U.S. ex rel. Bledsoe, 501 F.3d at 516.

          KPMG’s contrary arguments, which cite none of the above authorities, are wrong. First,

   relying on Asher v. Unarco Material Handling, Inc., 596 F.3d 313, 318 (6th Cir. 2010), KPMG

   argues that Rule 15(c)(1)(B) “‘does not authorize the relation back of an amendment adding a

   new party.’” MTD at 25 (quoting Asher). But Asher was about the addition of claims that had not

   been originally been asserted, by plaintiffs who were not originally parties, which “create[d] a

   new cause of action” precluding relation back. Asher, 596 F.3d at 318. Here, the Section 11

   claim is being asserted by, among others, Mr. Cosby, who was a party to the original complaint,

   and who asserted Section 11 claims in that complaint. Asher thus does not apply.

          KPMG also argues that because the original complaint did not mention preferred stock,


   Vanguard Offset Printers, Inc., 857 F. Supp. 1060, 1068-69 (S.D.N.Y. 1994) (second amended
   complaint relates back because both original and new allegations all involve misrepresentations
   regarding a stock purchase agreement); Alpern v. UtilCorpUtiliCorp United, Inc., 84 F.3d 1525,
   1543-44 (8th Cir. 1996) (amendment to add Section 11 claims based on same misleading
   financial statements related back to original complaint asserting only Section 10(b) claims).




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   which is the subject of the Section 11 claims in the SAC, relation back fails. But KPMG cites no

   authority that the addition of a new type of security bars relation back, which is unsurprising

   given that the same false statements and documents can affect different types of securities.

          Nor does the authority KPMG does cite help its cause. In both In re Worldcom, Inc. Sec.

   Litig., 308 F. Supp. 2d 214, 232 (S.D.N.Y. 2004), vacated and remanded sub nom. In re

   WorldCom Sec. Litig., 496 F.3d 245 (2d Cir. 2007), and In re Xchange Inc. Sec. Litig., No.

   CIV.A.00-10322-RWZ, 2002 WL 1969661, at *4 (D. Mass. Aug. 26, 2002), relation back failed

   because the amendment challenged different statements and documents, not because of new

   securities. See Worldcom, 496 F.3d at 232 (“Each bond offering was governed by its own

   registration statement and it is the existence of misrepresentations in a particular registration

   statement that give rise to a Section 11 claim.”); Xchange, 2002 WL 1969661, at *4 (relation

   back failed because original complaint’s “allegations [did not] concern the registration

   statements for [the newly challenged] offerings”). Here, by contrast, the original complaint is

   replete with allegations about the September 6, 2012 Registration Statement’s falsity, and indeed

   asserted a Section 11 claim against KPMG on that basis. Thus, KPMG cannot argue it was not

   put on notice of the Section 11 claim here—particularly since Miller only issued preferred stock

   under that Registration Statement, not common stock. The Section 11 claims thus relate back.31,32

          Statute of limitations. KPMG next argues that the Section 11 claims are barred by the

   one-year statute of limitations because a reasonably diligent investor “would have discovered”

   the claims before March 14, 2015. MTD at 29. This argument should be rejected.

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      Notably, KPMG does not argue that the Section 10(b) claims on behalf of preferred
   stockholders are untimely for lack of relation back.
   32
      KPMG also argues that the Section 11 claims are barred by the Securities Act’s three-year
   statute of repose. However, that argument hinges entirely on the success of KPMG’s relation
   back argument. Because that argument fails, so too does KPMG’s statute of repose argument.



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          As an initial matter, “[d]istrict courts in this circuit have found that a dispute over

   whether plaintiffs’ claims are barred by the [Securities Act’s] one-year statute of limitations is

   factual in nature and cannot be decided on a motion to dismiss.” In re EveryWare Glob., Inc. Sec.

   Litig., 175 F. Supp. 3d 837, 863 (S.D. Ohio 2016), aff’d sub nom. IBEW Local No. 58 Annuity

   Fund v. EveryWare Glob., Inc., 849 F.3d 325 (6th Cir. 2017) (collecting cases).33

          Here, although some investors may have had suspicions before March 14, 2015 that

   Miller overvalued the Alaska Assets, KPMG’s potential complicity remained significantly

   obscured. To state a non-frivolous claim that KPMG’s audit reports were false, Plaintiffs would

   have had to uncover facts suggesting that KPMG was somehow culpable for failing to detect the

   overvaluation—which, at that time, was still only suspected.34 However, most of the facts relied

   on to make that showing came after March 14, 2015, particularly with the SEC’s August 6, 2015

   charges against Miller, Boyd, Hall, and Vogt, which detailed such clear evidence that the Alaska

   Assets were overvalued that doubt was cast on KPMG’s audits as well. Yet, even then, KPMG’s

   potential Section 11 liability was far from clear, as evidenced by the Gaynor plaintiffs’ decision

   not to name KPMG as a defendant in their November 6, 2015 complaint initiating that action.

   See Gaynor, Dkt. 1-1 (asserting Section 11 claims but not naming KPMG as defendant).

          As for Plaintiffs’ Section 10(b) allegations that events before March 14, 2015 caused


   33
     Indeed, as this Court noted in Gaynor, dismissal based on the contention that a plaintiff should
   have discovered facts earlier can succeed “‘only when uncontroverted evidence irrefutably
   demonstrates when plaintiff discovered or should have discovered’ the violation,” Gaynor at 26
   (quoting Newman v. Warnaco Grp., Inc., 335 F.3d 187, 194–95 (2d Cir. 2003)), and even then,
   only if that is “apparent from the face of the complaint.” Davidco Inv’rs, LLC v. Anchor Glass
   Container Corp., No. 8:04CV2561T-24EAJ, 2006 WL 547989, at *24 (M.D. Fl. Mar. 6, 2006).
   Neither is present here.
   34
     Indeed, under KPMG’s theory that its audit reports were pure opinion statements, Plaintiffs
   would have had to uncover even more facts, as Plaintiffs would have had to show that KPMG
   subjectively disbelieved those opinions or knew of but failed to disclose contradictory facts.



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   some of Plaintiffs’ losses, those were expressly not incorporated into the Section 11 claims and

   should not be considered in analyzing the timeliness of those claims. E.g., In re AFC Enterprises,

   Inc. Sec. Litig., 348 F. Supp. 2d 1363, 1378 (N.D. Ga. 2004) (unincorporated allegations should

   not be considered in determining Section 11 pleading standard). But even if they were, they do

   not show obvious untimeliness, because none of those events revealed “precisely” the falsity of

   KPMG’s audit reports. EveryWare Glob., 175 F. Supp. 3d at 863 (finding Section 11 claims

   asserted on May 15, 2015 to be timely despite allegation that the fraud began to cause losses on

   an October 30, 2013 disclosure, because the October 30, 2013 events did not concern

   “‘precisely’ the information the defendants had allegedly misrepresented or concealed”) (quoting

   Freidus v. Barclays Bank PLC, 734 F.3d 132, 138 (2d Cir. 2013)). The Section 11 claims are

   thus timely.35

                                            CONCLUSION

          KPMG’s motion to dismiss should be denied.




   35
      That the Section 10(b) claims, subject to a two-year statute of limitations, are timely is even
   less in dispute, because KPMG cannot explain how Plaintiffs could reasonably have discovered
   before March 14, 2014 essential facts underpinning KPMG’s Section 10(b) liability, including
   that the Alaska Assets were inflated in large part because of fraudulently understated costs; that
   KPMG had helped Miller defend the valuations to the SEC before it had completed its audit; that
   KPMG had to “fix” Miller’s books before it could even audit them; that KPMG had performed a
   flawed internal valuation which it used to justify Miller’s valuation; that KPMG had been
   warned by its own valuation specialists that the Alaska Assets appeared to have been overvalued;
   that Riordan had given reassurance to Miller’s Audit Committee that the Alaska Assets’
   valuation would stand before KPMG had done the necessary work and before contrary evidence
   came to light; that KPMG did not require Miller’s management to perform a fair market value
   analysis in the first instance after realizing that the RE Davis and insurance broker reports relied
   on by Miller were inappropriate for fair value purposes; and that KPMG helped Miller conceal
   the double counting of the value of the above-ground infrastructure. Put simply, there is nothing
   in the SAC that remotely suggests that these facts—necessary for both falsity and scienter—
   could have been discovered before March 14, 2014. Thus, the Section 10(b) claims are timely.



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   Dated: November 22, 2017           Respectfully submitted,

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                                    CERTIFICATE OF SERVICE


            I hereby certify that on November 22, 2017, I caused the foregoing to be filed using the

   Court’s CM/ECF system, which in turn sent notice to counsel of record.


   Dated:     November 22, 2017                         /s/ Times Wang
                                                        Times Wang




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